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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                              FLORENCE DIVISION

EQUAL EMPLOYMENT                               )                CIVIL ACTION NO.
OPPORTUNITY COMMISSION,                        )             4:17-cv-01150-AMQ-KDW
                                               )
            Plaintiff,                         )
                                               )
and                                            )
                                               )         JOINT MOTION FOR ENTRY OF
TRACY FRYE and CINDY FRYE,                     )              CONSENT DECREE
                                               )
            Plaintiffs-Intervenors,            )
                                               )
       v.                                      )
                                               )
NEW APPLE, INC.,                               )
                                               )
            Defendant.                         )
                                               )

       Plaintiff U.S. Equal Employment Opportunity Commission, Plaintiff-Intervenor Tracy

Frye, Plaintiff-Intervenor Cindy Frye, and Defendant New Apple, Inc. respectfully move this

Court to enter the attached Consent Decree.

       Respectfully submitted this the 17th day of July, 2018.

WE SO MOVE:                                            WITH CONSENT OF:

U.S. EQUAL EMPLOYMENT                                  TRACY FRYE and CINDY FRYE,
OPPORTUNITY COMMISSION                                 Plaintiffs-Intervenors
                                                       s/Leon Martin Ortner         .
s/ Rachael S. Steenbergh-Tideswell   .                 LEON MARTIN ORTNER
RACHAEL S. STEENBERGH-TIDESWELL                        ORTNER LAW FIRM, LLC
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Email: rachael.steenbergh@eeoc.gov             and

ATTORNEYS FOR PLAINTIFF                        NEW APPLE, INC.,
                                               Defendant

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